     Case 1:20-cv-00168-TBM-RPM       Document 1      Filed 05/12/20   Page 1 of 30




             IN THE UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF MISSISSIPPI
                          SOUTHERN DIVISION


THE STATE OF MISSISSIPPI,
ex rel. LYNN FITCH, in her
official capacity as Attorney General
of the State of Mississippi,

       Plaintiff,

v.                                                   Civil Action No. 1:20-cv-168-LG-RHW

THE PEOPLE’S REPUBLIC OF CHINA,
THE COMMUNIST PARTY OF CHINA,
NATIONAL HEALTH COMMISSION OF
THE PEOPLE’S REPUBLIC OF CHINA,
MINISTRY OF EMERGENCY
MANAGEMENT OF THE PEOPLE’S
REPUBLIC OF CHINA, MINISTRY OF
CIVIL AFFAIRS OF THE PEOPLE’S
REPUBLIC OF CHINA, PEOPLE’S
GOVERNMENT OF HUBEI PROVINCE,
PEOPLE’S GOVERNMENT OF WUHAN
CITY, WUHAN INSTITUTE OF VIROLOGY,
and CHINESE ACADEMY OF SCIENCES,

       Defendants.                                    JURY TRIAL DEMANDED


                                    COMPLAINT


        Plaintiff the State of Mississippi, ex rel. Lynn Fitch, Attorney General of the

State of Mississippi, files this Complaint and, in support thereof, states the

following:

                            NATURE OF THE ACTION

        1.    In this case, the State of Mississippi seeks recovery for the enormous

                                           1
   Case 1:20-cv-00168-TBM-RPM         Document 1     Filed 05/12/20   Page 2 of 30




loss of life, human suffering, and economic turmoil experienced by all Mississippians

from the COVID-19 pandemic that has disrupted the entire world. An appalling

campaign of deceit, concealment, misfeasance, and inaction by Chinese authorities

unleashed this pandemic. During the critical weeks of the initial outbreak, Chinese

authorities deceived the public, suppressed crucial information, arrested

whistleblowers, denied the existence of human-to-human transmission in the face

of mounting evidence to the contrary, destroyed critical medical research, permitted

millions of people to be exposed to the virus, leading to a global pandemic that was

unnecessary and preventable – all in an effort to distract the world while engaging

in unfair and deceptive trade practices related to hoarding of necessary personal

protective equipment (“PPE”) and reselling substandard PPE to a desperate world

at inflated prices. Defendants are responsible for the enormous death, suffering,

and economic losses they inflicted on the world, including Mississippians, and they

should be held accountable.

          2.   Mississippi faces an urgent public health crisis due to the COVID-19

pandemic created and exacerbated by Defendants’ actions.

          3.   As of May 2, 2020, Mississippi had at least 7,550 confirmed infections

from COVID-19, and at least 303 Mississippians had died from COVID-19, with

these numbers increasing on a daily basis.1

      4.       Mississippi is not alone. The virus unleashed by Defendants has left no




      1  Mississippi State Department of Health, Coronavirus Disease 2019 (COVID-19),
https://www.msdh.ms.gov/msdhsite/_static/14,0,420.html#Mississippi.

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   Case 1:20-cv-00168-TBM-RPM         Document 1     Filed 05/12/20     Page 3 of 30




community in the world untouched.

      5.      This COVID-19 pandemic is the direct result of a sinister campaign of

malfeasance and deception carried out by Defendants.

      6.      Defendants, in violation of their duties to the international community,

engaged in commercial activities, including hoarding PPE and selling substandard

PPE at inflated prices, which imperiled the lives and health of millions.

      7.      As hundreds of thousands of people across the globe began to die,

Defendants sought to minimize the consequences, engaging in a cover-up and

misleading public relations campaign by censoring scientists, ordering the

destruction and suppression of valuable research, and refusing cooperation with the

global community, all in violation of international health standards.

      8.      Defendants’ actions had profound effects in Mississippi. Literally, every

Mississippian has been adversely affected by Defendants’ course of conduct.

      9.      This civil action seeks to hold Defendants accountable for the

extraordinary public-health crisis that they created and to allow the State of

Mississippi to recoup money lost as a result of Defendants’ actions.

                                      PARTIES

      10.     Lynn Fitch is the Attorney General of Mississippi (the “Attorney

General”).

      11.     Plaintiff State of Mississippi is a body politic created by the

Constitution and laws of the State. Lynn Fitch is the State’s duly elected and

present Attorney General. The Attorney General brings this action on the State’s


                                          3
   Case 1:20-cv-00168-TBM-RPM         Document 1     Filed 05/12/20    Page 4 of 30




behalf, pursuant to her authority granted, inter alia, by Miss. Const. art. 6, § 173

(1890); Miss. Code Ann. § 7-5-1; Miss. Code Ann. § 75-24-9; and in her capacity as

the State’s Chief Legal Officer pursuant to the positive statutory, common, and

decisional law of the State, which vests in her the right to initiate, conduct, and

maintain all suits necessary for the enforcement of the laws of the State,

preservation of order, and protection of public rights.

      12.     Plaintiff State of Mississippi is a sovereign State that has sustained

direct and substantial injuries and losses as a result of the conduct described herein.

      13.     The Attorney General is suing, in part, to vindicate the State’s injuries

to its own economic and proprietary interests that it has directly suffered due to the

actions of Defendants.

      14.     The Attorney General is also suing as parens patriae on behalf of the

public interest of all Mississippi citizens, to vindicate general injuries inflicted on

Mississippi citizens as a result of the pandemic caused by Defendants.

      15.    As a sovereign State, Mississippi has “a quasi-sovereign interest in the

health and well-being—both physical and economic—of its residents in general.”

Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 607 (1982).

      16.    A state like Mississippi, through its Attorney General, may act as “a

representative of the public” in “complaining of a wrong which, if proven, limits the

opportunities of her people [and] shackles her industries.” Alfred L. Snapp, 458 U.S.

at 606 (stating that “in matters of grave public concern” a state “has an interest apart

from that of particular individuals who may be affected”).



                                           4
   Case 1:20-cv-00168-TBM-RPM        Document 1     Filed 05/12/20    Page 5 of 30




      17.    Defendant People’s Republic of China (“PRC” or “China”) is a communist

nation in Asia.

      18.    Defendant Communist Party of China (“CPC” or “Communist Party”) is

the sole governing party within China, and the Communist Party’s General Secretary

becomes the president of the PRC; thus, the CPC and PRC essentially act as one and

the same entity.

      19.    On information and belief, at all relevant times, the Communist Party

exercised direction and control over the actions of all other Defendants.

      20.    Defendant National Health Commission of the People’s Republic of

China (“National Health Commission”) is a ministry of the PRC’s State Council

charged with formulating health policies.

      21.    Defendant Ministry of Emergency Management of the People’s Republic

of China (“Ministry of Emergency Management”) is a ministry of the PRC’s State

Council charged with emergency management and emergency rescue.

      22.    Defendant Ministry of Civil Affairs of the People’s Republic of China

(“Ministry of Civil Affairs”) is a ministry of the PRC’s State Council charged with

social and administrative affairs.

      23.    The People’s Government of Hubei Province (“Hubei Province”) is the

provincial government of the geographical Hubei province in the PRC.

      24.    The People’s Government of Wuhan City (“City of Wuhan”) is the city

government of the capital city of Hubei Province in the PRC.

      25.    On information and belief, at all relevant times, the PRC, National



                                            5
      Case 1:20-cv-00168-TBM-RPM           Document 1      Filed 05/12/20    Page 6 of 30




Health Commission, Ministry of Emergency Management, Ministry of Civil Affairs,

Hubei Province, and City of Wuhan (collectivity, the “Chinese Government

Defendants”) and the Communist Party acted in concert with one another and acted

as agents and/or principals of one another in relation to the conduct described herein.

        26.      The Wuhan Institute of Virology (“Wuhan Institute”) is located in

Wuhan and is a research institute that studies virology and related topics.

        27.      Since at least November 2019, the Wuhan Institute has conducted

research on coronaviruses and knew how contagious and deadly COVID-19 is.

        28.      Cables from the United States Department of State have warned of

safety concerns at the Wuhan Institute.2

        29.      The United States is currently conducting “a full-scale investigation into

whether the novel coronavirus, which went on to morph into a global pandemic that

has brought the global economy to its knees, escaped from” the Wuhan Institute.3

        30.      Defendant Chinese Academy of Sciences (“Chinese Academy of

Sciences”) is the national academy of the natural sciences for the PRC and describes

itself as “the linchpin of China’s drive to explore and harness high technology and the




        2 Josh Rogin,   State Department cables warned of safety issues at Wuhan lab studying
bat     corona       viruses,   WASHINGTON      POST    (Apr.14,     2020),   available    at:
https://www.washintonpost.com/opin
ions/2020/04/14/state-department-cables-warned-safety-issues-wuhan-lab-studying-bat-
corona
viruses/.

                           US officials confirm full-scale investigation of whether coronavirus
        3 Bret Baier, et al.,

escaped       from    Wuhan lab, FOX NEWS (Apr. 17, 2020), available at:
https://www.foxnews.com/politics/us-officials-investigation-coronavirus-wuhan-lab.


                                                6
   Case 1:20-cv-00168-TBM-RPM           Document 1     Filed 05/12/20   Page 7 of 30




natural sciences for the benefit of China.”4

      31.       The Chinese Academy of Sciences administers the Wuhan Institute.5

      32.       On information and belief, at all relevant times, the Wuhan Institute

and the Chinese Academy of Sciences (collectively, the “Laboratory Defendants”),

along with the Chinese Government Defendants and the CPC, acted in concert with

one another and acted as agents and/or principals of one another in relation to the

conduct described herein.

                             JURISDICTION AND VENUE

          33.   Article III, Section 2 of the United States Constitution extends the

judicial power of federal courts to “all Cases … between a State, or the Citizens

thereof, and foreign States, Citizens or Subjects.”

      34.       This Court is given jurisdiction of this matter under 28 U.S.C. §

1330, which provides for jurisdiction over foreign states, and 28 U.S.C. § 1332(a),

which provides for jurisdiction over citizens of a State and citizens or subjects of a

foreign state and a foreign state itself, where the amount in controversy exceeds

$75,000.

      35.       The amount in controversy in this matter exceeds $75,000.

      36.       This Court has jurisdiction over cases filed against foreign states such

as the Defendants under the commercial activity exception to the Foreign Sovereign




      4      Chinese     Academy       of    Sciences,   About    Us,    available     at:
http://english.cas.cn/about_us/introduction/201501/t20150114_135284.shtml.

      5   Id.
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    Case 1:20-cv-00168-TBM-RPM         Document 1      Filed 05/12/20    Page 8 of 30




Immunities Act (“FSIA”), 28 U.S.C. § 1605(a)(2), which provides:

       (a) A foreign state shall not be immune from the jurisdiction of courts
       of the United States or of the States in any case— … (2) in which the
       action is based upon a commercial activity carried on in the United
       States by the foreign state; or upon an act performed in the United
       States in connection with a commercial activity of the foreign state
       elsewhere; or upon an act outside the territory of the United States in
       connection with a commercial activity of the foreign state elsewhere
       and that act causes a direct effect in the United States.

      37.    A commercial activity is defined to be “either a regular course of

commercial conduct or a particular commercial transaction or act. The commercial

character of an activity shall be determined by reference to the nature of the course

of conduct or particular transaction or act, rather than by reference to its purpose.”

28 U.S.C. § 1603(d).

      38.    On information and belief, the conduct of Defendants described below

arises out of commercial activities that have caused a direct effect in the United

States and in the State of Mississippi, including, but not limited to the production,

purchasing, and import and export of medical equipment, such as masks and other

PPE necessary to COVID-19 efforts.

      39.    This Court has personal jurisdiction over the Defendants because the

harms and injuries occurred in this District and in this Division of this District, and

they otherwise have sufficient contacts in Mississippi and the rest of the United

States to render the exercise of jurisdiction by this Court permissible.

      40.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)-(3)

and (f)(1)-(2) because a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred in this District and in this Division of this District.


                                            8
    Case 1:20-cv-00168-TBM-RPM           Document 1     Filed 05/12/20    Page 9 of 30




                                GENERAL ALLEGATIONS

                               THE ORIGINS OF COVID-19

       41.    COVID-19 is an infectious disease caused by a novel coronavirus, severe

acute respiratory syndrome coronavirus 2 (SARS-CoV-2).

       42.    Humans are believed to have first contracted COVID-19 in late 2019,

although the precise date is unknown.

       43.    Some sources date the first known case in China to November 17, 2019,

or possibly earlier.6

       44.    A variety of sources also date the first known case to December 2019.

       45.    One theory on the origin of the virus is that it made a zoonotic

transmission from animals at a wet market in Wuhan (the “Wuhan Seafood

Market”).7

       46.    Another emerging theory on the origin of the virus is that it was released

from the Wuhan Institute of Virology, which was studying the virus as part of a

commercial activity.8

       47.    After first transmission, the virus began to spread rapidly.


       6 Josephine Ma,    Coronavirus: China’s first confirmed Covid-19 case traced back to
November 17, SOUTH CHINA MORNING PRESS (Mar. 30, 2020), available                        at:
https://www.scmp.com/news/china/society/article/3074991/coronavirus-chinas-first-
confirmed-covid-19-case-traced-back.

                                Clinical features of patients infected with 2019 novel
       7 Chaolin Haung, M.D., et al.,

coronavirus in Wuhan, China, THE LANCELET vol. 395 (Jan. 24, 2020), available at:
https://www.thelancet.com/action/showPdf?pii=S0140-6736%2820%2930183-5.

                         Sources believe coronavirus outbreak originated in Wuhan lab as
       8 Bret Baier, et al.,

part of China's efforts to compete with US, Fox News (Apr. 15, 2020), available at:
https://www.foxnews.com/politics/coronavirus-wuhan-lab-china-compete-us-sources.


                                              9
   Case 1:20-cv-00168-TBM-RPM              Document 1    Filed 05/12/20   Page 10 of 30




      48.        According to The Lancet, one of the earliest known patients—a man

affiliated with the Wuhan Seafood Market—had a symptom onset date of December

1, 2019.9

      49.        Just five days later, the wife of this patient—who had no affiliation with

the   market—began            exhibiting     symptoms,     indicating     human-to-human

transmission.10

      50.        According to a study in the Chinese Medical Journal, sometime between

December 18 and 29, 2019, laboratory testing was being done on patients who

exhibited symptoms consistent with COVID-19.11

      51.        The study in the Chinese Medical Journal attributed the illnesses to “[a]

novel bat-borne [coronavirus] … that is associated with severe and fatal respiratory

disease in humans.”12

      52.        According to a study in the New England Journal of Medicine, “[t]he

majority of the earliest cases included reported exposure to the Huanan Seafood

Wholesale Market, but there was an exponential increase in the number of non-linked

cases beginning in late December.”13


      9   See supra n. 7 at 500.

      10   Id.

                     Identification of a novel coronavirus causing severe pneumonia in
      11 Li-Li Ren, et al.,

human: a descriptive study, CHINESE MED. J. (Feb. 11, 2020), available at:
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7147275/.

      12   Id.

      13  Qun Li, et al., Early Transmission Dynamics in Wuhan, China, of Novel
Coronavirus–Infected Pneumonia, NEW ENGLAND J. MED. (Jan. 29, 2020), available at:
https://www.nejm.org/doi/10.1056/NEJMoa2001316.

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   Case 1:20-cv-00168-TBM-RPM              Document 1       Filed 05/12/20    Page 11 of 30




      53.       Thus, on or around late December 2019, healthcare professionals in

Wuhan were reporting infections, indicating human-to-human transmission.

      54.       According to Chinese sources cited in the National Review, on December

25, 2019, “Chinese medical staff in two hospitals in Wuhan [were] suspected of

contracting viral pneumonia and [were] quarantined. This is additional strong

evidence of human-to-human transmission.”14 This was corroborated by the Wall

Street Journal.15

      55.       According to the South China Morning Press, “On December 27, Zhang

Jixian, a doctor from Hubei Provincial Hospital of Integrated Chinese and Western

Medicine, told China’s health authorities that the disease was caused by a new

coronavirus. By that date, more than 180 people had been infected, though doctors

might not have been aware of all of them at the time.”16

      56.       According to CNN, on December 30, 2019, Dr. Li Wenliang, using the

popular chat application WeChat, told his medical school alumni group about

patients at his hospital suffering from a SARS-like illness that may have originated

from a coronavirus.17


      14 Jim Geraghty,       The Comprehensive Timeline of China’s COVID-19 Lies, NATIONAL
REVIEW (March 23, 2020), available at: https://www.nationalreview.com/the-morning-
jolt/chinas-devastating-lies/.

      15 Jeremy Page, et al.,     How It All Started: China’s Early Coronavirus Missteps, THE
WALL STREET JOURNAL (Mar. 6, 2020), available at: https://www.wsj.com/articles/how-it-all-
started-chinas-early-coronavirus-missteps-11583508932.

      16   See supra n. 6.

      17 Yong Xiong, et al.,    This Chinese doctor tried to save lives, but was silenced. Now he
has       coronavirus,     CNN         (Feb.      4,      2020),       available              at:
https://www.cnn.com/2020/02/03/asia/coronavirus-doctor-whistle-blower-intl-

                                                 11
   Case 1:20-cv-00168-TBM-RPM            Document 1     Filed 05/12/20     Page 12 of 30




       57.        In his messages, Dr. Li Wenliang shared details of what would be named

COVID-19, urging them to take precautions against the risk of human- to-human

transmission.18

       58.        A study of patients admitted through January 2 found that only 27 of 41

patients had a link to the Wuhan Seafood Market, indicating human-to-human

transmission in December.19

       59.        Despite the previously-mentioned evidence to the contrary, on December

31, 2020, the Wuhan Municipal Health Commission declared, “[t]he investigation so

far has not found any obvious human-to-human transmission and no medical staff

infection.”20

       60.        The World Health Organization (“WHO”) was finally informed of these

events on December 31, with the organization saying that “the WHO China Country

Office was informed of cases of pneumonia unknown etiology (unknown cause)

detected in Wuhan City, Hubei Province of China.”21

       61.        On information and belief, part of the Defendants’ cover-up involved

misleading the WHO, an international organization under the United Nations whose




hnk/index.html.

       18   Id.

       19   See supra n. 7 at 500.

       20   See supra n. 14.

       21 World Health Organization, Novel coronavirus (2019-nCoV) Situation Report – 1

(Jan. 21, 2020), available at: https://www.who.int/docs/default-source/coronaviruse/situation-
reports/20200121-sitrep-1-2019-ncov.pdf?sfvrsn.

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   Case 1:20-cv-00168-TBM-RPM            Document 1     Filed 05/12/20        Page 13 of 30




objective is “the attainment by all peoples of the highest possible level of health,”

according to its Constitution.22

      62.    On information and belief, the Chinese Government Defendants delayed

reporting COVID-19 to the WHO for weeks after the outbreak was identified in the

Chinese medical community.

      63.    Under Article 6.1 of the International Health Regulations, China had a

duty to report “all events which may constitute a public health emergency of

international concern within its territory” within 24 hours.

      64.    When China did inform the WHO of the disease, Chinese authorities

denied human-to-human transmission, despite having significant evidence to the

contrary. On information and belief, Defendants’ denial induced the WHO to also

deny or downplay the risk of human-to-human transmission in the critical weeks

while the virus was first spreading.

                DEFENDANTS ALLOW THE VIRUS TO SPREAD

      65.    According to data gathered by the New York Times, approximately

175,000 individuals left Wuhan on January 1 alone to travel for the Lunar New

Year.23

      66.    As stated by the New York Times, because of the Lunar New Year travel,

“[t]he timing of the outbreak could not have been worse.”24


      22    World     Health   Organization,   Constitution,  Art.       I,     available     at:
https://apps.who.int/gb/bd/PDF/bd47/EN/constitution-en.pdf?ua=1.

      23 Jin Wu, et al.,   How the Virus Got Out, N.Y. TIMES (Mar. 22, 2020), available at:
https://www.nytimes.com/interactive/2020/03/22/world/coronavirus-spread.html.


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   Case 1:20-cv-00168-TBM-RPM          Document 1    Filed 05/12/20   Page 14 of 30




      67.        According to the Wall Street Journal, China “went ahead with New Year

celebrations despite the risk of wider infections” and let “some five million people

leave Wuhan without screening.”25

                              THE COVER-UP BY DEFENDANTS

      68.        On December 30, 2019, the Wuhan Municipal Health Commission

released a notice to medical institutions that patients visiting the Wuhan Seafood

Market had contracted a pneumonia-like illness.26

      69.        The notice warned medical professionals, “Any organizations or

individuals are not allowed to release treatment information to the public without

authorization.”27

      70.        Within hours of sending his warning to colleagues via WeChat on

December 30, screenshots of Dr. Li Wenliang’s message had been shared widely on

social media, but government censors then took action to stop the circulation.28

      71.        On or about December 31, researchers at the University of Toronto

began to notice censoring of key words about the virus on Chinese social media

platforms.29


      24   Id.

      25   See supra n. 15.


      26   See supra n. 17.

      27   Id.

      28   See supra n. 15.

                          Censored Contagion How Information on the Coronavirus is
      29 Lotus Ruan, et al.,

Managed on Chinese Social Media, UNIV. OF TORONTO, THE CITIZEN LAB (Mar. 3, 2020),
                                            14
   Case 1:20-cv-00168-TBM-RPM           Document 1     Filed 05/12/20   Page 15 of 30




      72.        One of the censored platforms was WeChat, and as explained by the

researchers, WeChat “has become increasingly popular among [Chinese] doctors who

use it to obtain professional knowledge from peers. Because of social media’s integral

role in Chinese society and its uptake by the Chinese medical community, systematic

blocking of general communication on social media related to disease information and

prevention risks substantially harmed the ability of the public to share information

that may be essential to their health and safety.”30

      73.        On January 1 or 2, the Wuhan police stated that they had “taken legal

measures” against eight people who “published and shared rumors online,” and one

of them is believed to be Dr. Wenliang.31

      74.        According to CNN, “The police announcement [against the eight people]

was broadcast across the country on CCTV, China’s state broadcaster, making it clear

how the Chinese government would treat such ‘rumormongers.’”32

      75.        The message reportedly said, “The internet is not a land beyond the law

... Any unlawful acts of fabricating, spreading rumors and disturbing the social order

will be punished by police according to the law, with zero tolerance.”33

      76.        As described by the St. Louis Post-Dispatch, “The punishment of eight



available    at:  https://citizenlab.ca/2020/03/censored-contagion-how-information-on-the-
coronavirus-is-managed-on-chinese-social-media/.

      30   Id.

      31   See supra n. 17.

      32   Id.
      33   Id.
                                            15
   Case 1:20-cv-00168-TBM-RPM              Document 1      Filed 05/12/20   Page 16 of 30




doctors for ‘rumor-mongering,’ broadcast on national television on Jan. 2, sent a chill

through the city’s hospitals,” and suppressed information from reaching the rest of

the world.34

       77.      On January 1, 2020, “after several batches of genome sequence results

had been returned to hospitals and submitted to health authorities, an employee of

one genomics company received a phone call from an official at the Hubei Provincial

Health Commission, ordering the company to stop testing samples from Wuhan

related to the new disease and destroy all existing samples.”35

       78.      Also on January 1, 2020, Dr. Ai Fen, who ran an emergency department

at a Wuhan hospital, ordered her staff to put on masks, suspecting human-to-human

transmission.36

       79.      That night, “the hospital’s discipline department summoned her for a

chat the next day. She was criticized for ‘spreading rumors,’ according to Dr. Ai. She

argued that the disease could be contagious. They said her action caused panic and

‘damaged the stability’ of Wuhan. Hospital leadership banned staff from discussing




       34 Xie Haunchi,Six days of silence when China didn't warn public of likely pandemic,
ST. LOUIS POST DISPATCH (April 16, 2020), available at: https://www.stltoday.com/news/six-
days-of-silence-when-china-didnt-warn-public-of-likely-pandemic/article_ae11db70-6704-
5b49-8040-78bf21579e07.html.

       35 Gao Yu, et al.,   How early signs of the coronavirus were spotted, spread and
throttled in China, THE STRAIGHT TIMES (Feb. 28, 2020), available at:
https://www.straitstimes.com/asia/east-asia/how-early-signs-of-the-coronavirus-were-
spotted-spread-and-throttled-in-china.

       36   See supra n. 15.

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   Case 1:20-cv-00168-TBM-RPM           Document 1    Filed 05/12/20   Page 17 of 30




the disease in public or via texts or images.”37

      80.        On January 2, 2020, the Wuhan Institute completed its genome

sequencing of the virus.38

      81.        Discovery of the genome sequence was not then announced.39

      82.        On January 3, 2020, Dr. Wenliang was forced to confess to a

misdemeanor, prepare a self-criticism, and agree not to commit any additional

“unlawful acts.”40

      83.        On January 3, 2020, “China’s National Health Commission (NHC), the

nation’s top health authority, ordered institutions not to publish any information

related to the unknown disease, and ordered labs to transfer any samples they had

to designated testing institutions, or to destroy them.”41

      84.        The National Review, quoting Chinese sources, stated that on January

3, the “Wuhan Municipal Health Commission released another statement, repeating,

‘As of now, preliminary investigations have shown no clear evidence of human-to-

human transmission and no medical staff infections.’”42

      85.        According to the Wall Street Journal, on January 5, “a medical research




      37   Id.

      38   Id.

      39   Id.

      40   See supra n. 17.

      41   See supra n. 36.

      42   See supra n. 14.
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   Case 1:20-cv-00168-TBM-RPM           Document 1     Filed 05/12/20    Page 18 of 30




center in Shanghai notified the National Health Commission that one of its professors

had also identified a SARS-like coronavirus and mapped the entire genome using a

sample from Wuhan.”43

       86.        Like the genome discovery by the Wuhan Institute on January 2, the

January 5 genome mapping was not made public for several days.44

       87.        On January 5, 2020, relying on information from Chinese officials, WHO

released a statement saying, “Based on the preliminary information from the Chinese

investigation team, no evidence of significant human-to- human transmission and no

health care worker infections have been reported.”45

       88.        On January 6, the United States Centers for Disease Control offered to

send a research team to assist Defendants, but Defendants did not extend permission

to enter the country.46

       89.        On January 8, 2020, WHO, relying on information from Chinese

officials, said, “WHO does not recommend any specific measures for travelers. WHO

advises against the application of any travel or trade restrictions on China based on




       43   See supra n. 15.

       44   Id.

        World Health Organization, Disease Outbreak News, Pneumonia of Unknown
       45

Cause – China (Jan. 5, 2020), available at: https://www.who.int/csr/don/05-january-2020-
pneumonia-of-unkown-cause-china/en/.

                      Exclusive: U.S. axed CDC expert job in China months before virus
       46 Marisa Taylor,

outbreak, REUTERS (Mar. 22, 2020), available at: https://www.reuters.com/article/us-health-
coronavirus-china-cdc-exclusiv/exclusive-u-s-axed-cdc-expert-job-in-china-months-before-
virus-outbreak-idUSKBN21910S.


                                             18
   Case 1:20-cv-00168-TBM-RPM          Document 1     Filed 05/12/20    Page 19 of 30




the information currently available.”47

      90.      Chinese authorities, including Defendants, did not publicly confirm the

outbreak as originating from a novel coronavirus until January 9, 2020, despite

having a mapping of its genome and other details showing that it was a new virus.48

      91.      On January 10, the New York Times attributed to the Wuhan City

Health Commission a statement that “[t]here is no evidence that the virus can be

spread between humans.”49

      92.      According to the National Review, citing Chinese sources, on January

11, the Wuhan City Health Commission issued a statement saying, “All 739 close

contacts, including 419 medical staff, have undergone medical observation and no

related cases have been found . . . No new cases have been detected since January 3,

2020. At present, no medical staff infections have been found, and no clear evidence

of human-to-human transmission has been found.”50 This statement directly

contradicted then-existing evidence.

      93.      Chinese authorities, including Defendants, did not share the genome

sequence—which the Wall Street Journal described as a “critical step[] toward




      47 World Health Organization, WHO Statement regarding cluster of pneumonia cases

in Wuhan, China (Jan. 9, 2020), available at: https://www.who.int/china/news/detail/09-01-
2020-who-statement-regarding-cluster-of-pneumonia-cases-in-wuhan-china.

      48   See supra n. 15.

                       China Reports First Death from New Virus, N.Y. TIMES (Jan. 10,
      49 Amy Qin, et al.,

2020), available at: https://www.nytimes.com/2020/01/10/world/asia/china-virus-wuhan-
death.html.

      50   See supra n. 14.
                                           19
   Case 1:20-cv-00168-TBM-RPM            Document 1    Filed 05/12/20   Page 20 of 30




containing the epidemic and designing a vaccine”—with the international community

until January 12.51

        94.        The first case outside of China was reported in Thailand on January

13.52

        95.        Following the Thai case, Defendants did not tell the public about the

new evidence directly confirming human-to-human transmission.53

        96.        For instance, PRC and CPC officials continued denying human-to-

human transmission and failed to inform the public, despite overwhelming evidence

of the virus’s contagiousness.54

        97.        According to the National Review, citing Chinese sources, on January

14, the Wuhan City Health Commission issued another statement saying, “Among

the close contacts, no related cases were found.”55

        98.        According to the Wall Street Journal, when President and General

Secretary Xi Jinping, leader of the PRC and CPC, made “his first public statement on

the crisis on January 20, he made no explicit mention of human- to-human

transmission.”56

        99.        By the time President Xi made his statement, millions of travelers


        51   See supra n. 15.

        52   See supra n. 35.

        53   Id.

        54   Id.

        55   See supra n. 14.
        56   See supra n. 15.
                                              20
   Case 1:20-cv-00168-TBM-RPM          Document 1      Filed 05/12/20    Page 21 of 30




passed through Wuhan, and “more than 3,000 people had been infected during almost

a week of public silence, according to internal documents obtained by The Associated

Press and expert estimates based on retrospective infection data.”57

      100.       The Wuhan City Health Commission continued publicly to deny human-

to-human transmission until January 20,58 at which point Chinese authorities finally

confirmed for the first time that human-to-human transmission was occurring.59

      101.       On January 20 and 21, 2020, the WHO was able to conduct a mission on

the ground in China and said afterward, “Data collected through detailed

epidemiological investigation and through the deployment of the new test kit

nationally suggests that human-to-human transmission is taking place in Wuhan.

More analysis of the epidemiological data is needed to understand the full extent of

human-to-human transmission.”60

      102.       On January 23, 2020, China began its first steps towards quarantining

Wuhan residents.

      103.       Weeks after the lockdown slowed cases in Wuhan, China continued to

mislead the world about its knowledge of the nature of the virus, and, on April 17,



      57   See supra n. 35.

      58   Id.

      59  Lily Kuo, China confirms human-to-human transmission of coronavirus, THE
GUARDIAN            (Jan.          20,           2020),          available             at:
https://www.theguardian.com/world/2020/jan/20/coronavirus-spreads-to-beijing-as-china-
confirms-new-cases.

      60 World Health Organization, Mission summary: WHO Field Visit to Wuhan, China

20-21 January 2020 (Jan. 22, 2020), available at: https://www.who.int/china/news/detail/22-
01-2020-field-visit-wuhan-china-jan-2020.

                                            21
   Case 1:20-cv-00168-TBM-RPM         Document 1      Filed 05/12/20    Page 22 of 30




2020, it upwardly revised the death toll in Wuhan by more than a thousand cases,

attributing the error to “incorrect reporting, delays and omissions.”61

       104.   Chinese citizen journalists, who posted videos from Wuhan of

overcrowded hospitals and other scenes from the COVID-19 pandemic, have gone

missing in recent weeks.62

       105.   On information and belief, China continues to mislead the world about

the infection rate, fatality rate, and other key statistics of COVID-19. China has

launched a “massive public relations campaign to avoid blame for the COVID-19

pandemic” and has spread conspiracy theories that the U.S. military had spread the

virus.63

                   THE EFFECTS OF DEFENDANTS’ ACTIONS

       106.   Due to Defendants’ malfeasance, COVID-19 spread rapidly across the

world, and as of May 2, 2020, the CDC reports 1,092,815 confirmed cases in the

United States and 64,283 deaths.64



                   China Raises Wuhan Death Stats By Half To Account For Reporting
       61 Scott Neuman,

Delays And Omissions, NATIONAL PUBLIC RADIO (April 17, 2020), available at:
https://www.npr.org/sections/coronavirus-live-updates/2020/04/17/836700806/china-raises-
wuhan-death-stats-by-half-to-account-for-reporting-delays-and-omiss.

       62Frank Miles, 2 Wuhan whistleblowers missing months after helping expose
coronavirus outbreak, activists say, FOX NEWS (April 15, 2020), available at:
https://www.foxnews.com/world/wuhan-whistleblowers-missing-exposing-coronavirus.

                      Guest on Chinese-produced Arabic-language program claimed US
       63 Bradford Betz,

may be to blame for coronavirus pandemic, FOX NEWS (April 19, 2020), available at:
https://www.foxnews.com/world/chinese-arabic-language-program-us-coronavirus-
pandemic.

       64 United States Centers for Disease Control and Prevention, Coronavirus Disease

2019 (COVID-19), Cases in the U.S., available at: https://www.cdc.gov/coronavirus/2019-
ncov/cases-updates/cases-in-us.html.

                                           22
   Case 1:20-cv-00168-TBM-RPM            Document 1      Filed 05/12/20     Page 23 of 30




        107.     As of May 2, 2020, Mississippi has 7,550 confirmed infections from

COVID-19, and at least 303 Mississippians have died.65

        108.     In addition to the toll on human life and health, the pandemic has

caused enormous economic disruptions across the United States and in Mississippi,

with over 30 million American jobs lost in less than 2 months and over 203,000

Mississippians filing jobless claims between March 15, 2020 and April 25, 2020.66

        109.     The pandemic unleashed by Defendants has had enormous economic

impacts on both the Mississippi government and on virtually every citizen of

Mississippi.

        110.     Responding to the pandemic has required shutting down businesses,

disrupting ordinary production and trade, and dislocating workers.

        111.     Mississippi’s government entities have suffered direct economic losses

as a result of the pandemic, including loss of revenues and budgetary shortages, with

direct effects on state services, state pension funds, and many other state proprietary

and economic interests.

        112.     In addition, innumerable citizens of Mississippi have suffered economic




        65 Mississippi Department of Health, Coronavirus Disease 2019 (COVID-19), available

at: https://www.msdh.ms.gov/msdhsite/_static/14,0,420.html#Mississippi.

        66 Jeffry Bartash,Millions of layoffs set to push unemployment rate to highest level
since    Great     Depression, MARKET WATCH (May 4, 2020), available at:
https://www.marketwatch.com/story/millions-of-lost-jobs-may-push-unemployment-rate-to-
highest-since-great-depression-2020-05-02; Anna Wolfe, Mississippi is fighting an uphill
battle with jobless claims. A decades-long shift in employment strategy didn’t help.,
MISSISSIPPI          TODAY         (May         3,         2020),         available         at:
https://mississippitoday.org/2020/05/03/mississippi-is-fighting-an-uphill-battle-with-jobless-
claims-a-decades-long-shift-in-employment-strategy-didnt-help/.

                                              23
   Case 1:20-cv-00168-TBM-RPM          Document 1      Filed 05/12/20    Page 24 of 30




losses as a result of the pandemic. These include loss of jobs, loss of income, loss of

business opportunities, and other economic losses.

      113.   An analysis conducted as part of the State pandemic plan estimates that

the economic impact of a single outbreak of a severe flu pandemic like this one on

Mississippi could total $6.61 billion, in today’s dollars.67

      114.   The Lieutenant Governor, Speaker of the House of Representatives, and

chairmen of the House and Senate Appropriations Committees wrote all state agency

directors on April 24, 2020 to ask “all state agencies, and arms of the state which

receive state dollars of any kind, to be very judicious about spending the rest of this

fiscal year…. COVID-19 has caused a near shutdown of the economy for a number of

weeks, and the projected impact is significant. We will undoubtedly have less money

in the upcoming fiscal year than we did this fiscal year.”68

      115.   Beyond the costs in terms of health, life, and the economy, the toll to

human relationships has been enormous, as Mississippians are unable to visit family

and friends, celebrate major life milestones like high school or college graduations, or

even attend Easter or Passover religious services. Literally, every Mississippian has

suffered an economic, emotional, and/or spiritual toll of the coronavirus.




      67 Luke Ramsath,   'Deeply disturbing': Coronavirus impact on Mississippi's economy,
The Clarion-Ledger (Mar. 20, 2020),
https://www.clarionledger.com/story/news/politics/2020/03/20/coronavirus-impact-
mississippi-economy/2865088001/.

      68 Letterfrom Lieutenant Governor Delbert Hosemann, Speaker of the House Philip
Gunn, Senate Appropriations Chairman Briggs Hopson, House Appropriations Chairman
John Read (April 24, 2020), See “Exhibit A”.


                                            24
   Case 1:20-cv-00168-TBM-RPM          Document 1    Filed 05/12/20   Page 25 of 30




      116.       As one example of the human toll, due to actions by Defendants,

Mississippi families with loved ones in nursing homes have been unable to visit them,

and some have been unable to visit dying relatives. These losses cannot be quantified.

      117.       In addition to emotional turmoil and economic disruption, Defendants’

course of conduct has inflicted enormous educational disruption on Mississippi

students at every level, from preschool through graduate studies. Schools have been

closed for months, graduations ceremonies and tests canceled, students isolated at

home, libraries closed, and learning completely disrupted.

                          DEFENDANTS’ ACTIONS AS TO PPE

      118.       On March 13, 2020, the New York Times ran a story documenting

China’s hoarding of PPE, saying China has “claimed mask factory output for itself.”69

      119.       According to the New York Times report, “Peter Navarro, an adviser to

President Trump on manufacturing and trade, contended on Fox Business last month

that China had essentially taken over factories that make masks on behalf of

American companies. Beijing, he said, had opted to ‘nationalize effectively 3M, our

company.’”70

      120.       As Peter Navarro further noted on Fox News on April 19, 2020, “During

that period of time, that six-week interval when they were hiding this virus from the

world, China went from a net exporter of personal protective equipment – they are




                             The World Needs Masks. China Makes Them, but Has
      69 Keith Bradsher, et al.,

Been Hoarding Them, N.Y. TIMES (Mar. 13, 2020), available at:
https://www.nytimes.com/2020/03/13/business/masks-china-coronavirus.html.

      70   Id.
                                            25
   Case 1:20-cv-00168-TBM-RPM           Document 1     Filed 05/12/20    Page 26 of 30




the largest producer of that in the world – to a large net importer.”71

       121.       Defendants’ hoarding had commercial value to them, as well.              As

Navarro continued, “now they are profiteering from it.”72

       122.       According to a recent piece in the Washington Post, White House

officials believe China’s actions of hoarding and importing PPE were a “deliberate

attempt by China to corner the market as it concealed and downplayed the danger

posed by the outbreak.”73

       123.       China is not currently allowing U.S. companies to bring PPE or

coronavirus test kits back to the United States, citing quality concerns.74

       124.       The PPE China has released has drawn complaints across the world for

being faulty, raising the prospect that it is keeping quality materials for itself while

shipping defective equipment elsewhere.75



       71   Id.

       72 Talia Kaplan,Peter Navarro: China 'cornered' the personal protective equipment
market and 'is profiteering' during coronavirus outbreak, FOX NEWS (April 19, 2020),
available at: https://www.foxnews.com/media/peter-navarro.

                            U.S. sent millions of face masks to China early this year,
       73 Juliet Eilperin, et al.,

ignoring pandemic warning signs, WASHINGTON POST (April 18, 2020), available at:
https://www.washingtonpost.com/health/us-sent-millions-of-face-masks-to-china-early-this-
year-ignoring-pandemic-warning-signs/2020/04/18/aaccf54a-7ff5-11ea-8013-
1b6da0e4a2b7_story.html.

                       China’s Export Restrictions Strand Medical Goods U.S. Needs to
       74 Kate O’Keeffe,

Fight Coronavirus, State Department Says, WALL STREET JOURNAL (April 16, 2020),
available at: https://www.wsj.com/articles/chinas-export-restrictions-strand-medical-goods-
u-s-needs-to-fight-coronavirus-state-department-says-11587031203.

       75 David Brunnstrom, et al.,U.S. asks China to revise export rules for coronavirus
medical gear, REUTERS (April 16, 2020), available at: https://www.reuters.com/article/heath-
coronavirus-usa-china/us-asks-china-to-revise-export-rules-for-coronavirus-medical-gear-
idUSL1N2C502N.

                                            26
   Case 1:20-cv-00168-TBM-RPM          Document 1     Filed 05/12/20    Page 27 of 30




       125.   On information and belief, the Defendants’ cover-up of COVID-19, which

led to greater loss of life and greater economic damage around the world, including

in Mississippi, was at least in part motivated by a desire to give Defendants time to

hoard PPE.

       126.   On information and belief, the Defendants’ hoarding of PPE has been

motivated, at least in part, by the desire to profit from increased worldwide demand

of PPE during the viral outbreak, including in Mississippi.76

       127.   On information and belief, Defendants’ hoarding of PPE has adversely

impaired the ability of health care providers throughout the world, including in the

United States and in Mississippi, from safely and effectively treating patients with

the virus.



                        COUNT I: VIOLATIONS OF THE
                   MISSISSIPPI CONSUMER PROTECTION ACT

                                (Against All Defendants)

       128.   Plaintiff repeats, restates, and incorporates by reference all allegations

in Paragraphs 1 to 127.

       129.   Defendants are “persons” within the meaning of Miss. Code Ann. § 75-

24-3, and, as such are subject to the provisions of the Mississippi Consumer

Protection Act (Miss. Code Ann. § 75-24-1, et seq).

       130.   Defendants have engaged in unfair and deceptive methods, acts, and


       76 Amber Athey,   Italy gave China PPE to help with coronavirus — then China made
them buy it back, THE SPECTATOR (April 4, 2020), available at: https://spectator.us/italy-
china-ppe-sold-coronavirus/.

                                            27
   Case 1:20-cv-00168-TBM-RPM        Document 1     Filed 05/12/20   Page 28 of 30




practices prohibited by Miss. Code Ann. § 75-24-5, through its concerted effort to

cover up the seriousness of COVID-19, utilize time afforded by said cover-up to hoard

PPE, nationalize companies manufacturing and producing PPE, sell sub-standard

PPE back to a desperate world, while keeping quality materials to itself, and commit

other acts constituting unfair and deceptive trade practices affecting commerce.

      131.   The Defendants actions were harmful to the public interest.

      132.   Defendants misrepresented that the little PPE it allowed for the rest of

the world, including Mississippi, was of a standard, quality, or grade in violation of

Miss. Code Ann. § 75-24-5(2)(g).

          COUNT II: VIOLATIONS OF MISSISSIPPI ANTITRUST LAW

                              (Against All Defendants)

      133.   Plaintiff repeats, restates, and incorporates by reference all allegations

in Paragraphs 1 to 132.

      134.   The Defendants’ acts violated Miss. Code Ann. § 75-21-3, including but

not limited to subsections (a) and (c), by restraining or attempting to restrain the

freedom of trade concerning PPE and/or by engrossing or forestalling, or attempting

to engross or forestall, PPE by hoarding PPE and endeavoring to corner the market,

while they concealed the nature of the virus from the rest of the world.

      135.   Furthermore, Defendants created an environment ripe for the need of

PPE, hoarded PPE so as to interfere with natural supply and demand patterns, and

engaged in trafficking of such products to its unjust enrichment.

      136.   The repeated acts by the Defendants, as alleged herein, have been



                                          28
   Case 1:20-cv-00168-TBM-RPM          Document 1    Filed 05/12/20    Page 29 of 30




injurious to—and have significantly interfered with—the lives, health, and safety of

many Mississippi residents, ruining lives and damaging the public order and

economy of the State of Mississippi.

      137.   As a proximate result of Defendants’ conduct, the State and its residents

have suffered billions in economic damages, as well as substantial non-economic

damages.

      138.   While the Mississippi Consumer Protection Act and Mississippi

antitrust laws do not require the conduct to be intentional in order to constitute

violations thereof, the conduct of the Defendants was knowing, willful, and in reckless

disregard of the rights of the State and its residents.

      139.   Defendants have engaged in a continuing course of conduct. Defendants’

bad acts—as well as the resulting harm to the health, well-being, safety, comfort,

economic interests, and rights of Mississippi and its residents—continue unabated.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff is entitled to relief under Miss. Code Ann. § 75-24-1,

et seq. and Miss. Code Ann. § 75-21-3 and respectfully requests that the Court enter

judgment in favor of Plaintiff, and enter an order jointly and severally against each

and every Defendant that:

      (a)    Awards Plaintiff all restitution authorized by law;

      (b)    Enters injunctive relief;

      (c)    Awards Plaintiff all civil penalties authorized by law;

      (d)    Awards Plaintiff all actual damages authorized by law;



                                           29
   Case 1:20-cv-00168-TBM-RPM          Document 1     Filed 05/12/20   Page 30 of 30




       (e)     Awards Plaintiff all direct and consequential damages authorized by

law;

       (f)     Awards      Plaintiff     all    reasonable   costs attributable to the

prosecution of this civil action authorized by law;

       (g)     Awards Plaintiff all pre-judgment interest authorized by law; and

       (h)     Awards Plaintiff such further relief as the Court deems just and

appropriate.

       Dated: May 12, 2020

                                         Respectfully submitted,

                                         LYNN FITCH
                                         ATTORNEY GENERAL OF
                                         THE STATE OF MISSISSIPPI

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                                           30
